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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,        )
                                 )
           Plaintiff,            )                 Case No. 17-cv-136 (PAM/FLN)
                                 )
      v.                         )
                                 )
                                 )
KLEINBANK,                       )
                                 )
           Defendant.            )
_________________________________)

                      JOINT REQUEST FOR EXTENSION OF
                           BRIEFING DEADLINES ON
                  OBJECTIONS TO MAGISTRATE JUDGE NOEL’S
                       REPORT AND RECOMMENDATION

        Pursuant to Fed. R. Civ. P. 6(b)(1)(A), the Plaintiff, United States, and the

Defendant, KleinBank (together, the “parties”), respectfully request that the Court extend,

for good cause, certain deadlines in relation to Defendant KleinBank’s planned objections

to Magistrate Judge Noel’s Report & Recommendation, ECF No. 51, for the reasons set

forth herein:

        1.      On January 30, 2018, Magistrate Judge Noel issued a Report and

Recommendation to deny KleinBank’s motion to dismiss. See R. & R., ECF No. 51.

        2.      Pursuant to Local Rule 72(b) and Federal Rule of Civil Procedure 72(b)(2),

KleinBank’s objections to the Report and Recommendation would ordinarily be due on

February 13, 2018 and the United States’ response thereto would be due on February 27,

2018.
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       3.     The parties have conferred and agreed upon an extended briefing schedule.

The parties have agreed that KleinBank’s deadline for filing its objections to the Report

and Recommendation shall be 28 days after the filing of the Report and

Recommendation; and that the United States’ deadline for responding to KleinBank’s

objections shall be 28 days thereafter. This extension of briefing deadlines gives both

parties a 14-day extension to file their briefs.

       4.     Federal Rule of Civil Procedure 6(b)(1) provides that “[w]hen an act may

or must be done within a specified time, the court may, for good cause, extend the time:

(A) with or without motion or notice if the court acts, or if a request is made, before the

original time or its extension expires.” Fed. R. Civ. P. 6(b)(1)(A). Thus, because this

request is made prior to February 13, 2018, the date on which KleinBank’s objections

would be due without an extension, the request is timely made.

       5.     Good cause exists for the requested extensions. The United States requires

additional time to allow for review by leadership of the Department.




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      For the foregoing reasons, the parties respectfully request that the Court extend the

briefing schedule on KleinBank’s objections to Magistrate Judge Noel’s Report and

Recommendation, granting KleinBank an extension of time to file its objections and

granting the United States an extension of time to respond thereto.

Dated: February 9, 2018

Respectfully submitted,

                                         JEFFERSON SESSIONS
                                         Attorney General


                                         JOHN M. GORE
                                         Acting Assistant Attorney General
                                         Civil Rights Division


/s/ John Lundquist_____________          /s/ Aurora Bryant___________
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